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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
DRYWALL TAPERS AND POINTERS OF GREATER :
NEW YORK LOCAL UNION 1974, AFFILIATED                                  :
WITH INTERNATIONAL UNION OF ALLIED                                     :
PAINTERS AND ALLIED TRADES, AFL-CIO,                                   :     20-CV-10113 (JMF)
                                                                       :
                                     Petitioner,                       :          ORDER
                                                                       :
                  -v-                                                  :
                                                                       :
                                                                       :
FALCON & SONS CORP.,                                                   :
                                                                       :
                                      Respondent.                      :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        In light of the fact that Petitioner did not serve Respondent with the Court’s prior
Scheduling Order until January 7, 2021, see ECF No. 10, the Court is obliged to set a new
briefing schedule that affords Respondent a meaningful opportunity to be heard. It is hereby
ORDERED that Respondent’s opposition to the petition to confirm an arbitration award, if any,
is due by January 27, 2021. Petitioner’s reply, if any, is due by February 3, 2021. This Order
supersedes the Court’s prior Scheduling Order at ECF No. 7.

        Petitioner shall serve this Order upon respondent electronically and by overnight mail no
later than January 13, 2021, and shall file an affidavit of such service with the Court no later
than January 14, 2021.

        SO ORDERED.

Dated: January 11, 2021                                    __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
